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                       EXHIBIT 1
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 12
                          UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14

 15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (SKx)
      LEAGUE’S “SUNDAY TICKET”
 16   ANTITRUST LITIGATION
                                               PLAINTIFFS’ RESPONSE TO NFL
 17   THIS DOCUMENT RELATES TO                 DEFENDANTS’ TRIAL BRIEF TO
      ALL ACTIONS                              PRECLUDE IMPROPER
 18                                            REBUTTAL TESTIMONY
 19                                            JUDGE: Hon. Philip S. Gutierrez
                                               COURTROOM:
 20                                             First Street Courthouse
                                                350 West 1st Street
 21                                             Courtroom 6A
                                                Los Angeles, CA 90012
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  1         Plaintiffs seek to call only one witness in rebuttal—Professor Einer Elhauge—
  2   to rebut the testimony of Defendants’ expert Dr. Doug Bernheim. Plaintiffs also seek
  3   to put on commercial class member Eugene Lennon, whose brother passed away at
  4   the start of trial – not as rebuttal but to accommodate his personal issue.1
  5         In response to Dr. Bernheim’s opinions, Prof. Elhuage will offer testimony on
  6   two discrete issues that were appropriately not presented in Plaintiffs’ case-in-chief:
  7   (1) critique of the procompetitive benefits that the Defendants are now offering to
  8   justify the challenged conduct and (2) the availability of less restrictive alternatives
  9   to achieve any such benefits.
 10                                       ARGUMENT
 11         Expert opinion is legitimate rebuttal testimony when it concerns the same
 12   subject matter as the opposing expert’s report and is intended only to rebut or
 13   contradict the opposing expert’s evidence. United States ex rel. Brown v. Celgene
 14   Corp., 2016 WL 6542730, at *4 (C.D. Cal. June 29, 2016). Although the Court has
 15   the discretion to exclude rebuttal evidence, that discretion “should be tempered
 16   greatly where the probative value of proffered evidence is potentially high and where
 17   such evidence … was unnecessary for the plaintiff to establish in its prima facie
 18   case.” Weiss v. Chrysler Motors Corp., 515 F.2d 449, 457–58 (2d Cir. 1975). That is
 19   precisely the case here under the “multi-step burden-shifting framework” required to
 20   “determine a restraints’ actual effect on competition.” Dkt. 1325 at 6 (citing Epic
 21   Games, Inc. v. Apple, Inc., 67 F.4th 946, 974 (9th Cir. 2023)).
 22         Plaintiffs had the initial burden “to prove that the challenged restraint has a
 23   substantial anticompetitive effect that harms consumers in the relevant market.” Epic
 24   Games, 67 F.4th at 983.
 25

 26   1
       When a death in the family forced a postponement, Plaintiffs timely informed
 27   Defendants and the Court of that development. See Tr. 329:24-330:5. Mr. Lennon
      was unable to return to Los Angeles until this week so Plaintiffs seek to call him out
 28   of order in their case-in-chief, not as a rebuttal witness.
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  1         Defendants now bear the burden of showing a “procompetitive rationale for
  2   the restraints” at step two. Epic Games, Inc., 67 F.4th at 983. As this Court has
  3   recognized, the Rule of Reason places upon Defendants “a heavy burden of
  4   establishing an affirmative defense which competitively justifies this apparent
  5   deviation from the operations of a free market.” Dkt. 1325 at 7 (citing NCAA v. Bd.
  6   of Regents of the University of Oklahoma, 468 U.S. 85, 113 (1984)). Plaintiffs were
  7   not required to disprove Defendants’ affirmative defenses during their case-in-chief.
  8         Evidence of less restrictive alternatives belongs in rebuttal for the same
  9   reasons. At step three of the Rule of Reason, “the burden shifts back to the plaintiff
 10   to demonstrate that the procompetitive efficiencies could be reasonably achieved
 11   through less anticompetitive means.” Epic Games, Inc., 67 F.4th at 990. Less
 12   restrictive alternatives by definition must respond to the procompetitive benefits
 13   offered by Defendants.
 14         The Defendants have not identified a single instance in which a court has
 15   foreclosed Plaintiffs from presenting previously disclosed rebuttal witnesses in an
 16   antitrust trial under the Rule of Reason and its burden-shifting framework. None of
 17   the cases cited by Defendants contemplate the extraordinary relief requested here in
 18   the middle of trial. Cf. United States v. Hirokawa, 342 F. App’x 242, 247 (9th Cir.
 19   2009) (affirming district court’s decision to deny defendant from presenting
 20   surrebuttal case that would only revisit defendant’s prior testimony); Mickey v.
 21   Ayers, 606 F.3d 1223, 1248 (9th Cir. 2010) (affirming decision to exclude surrebuttal
 22   evidence); United States v. Clark, 617 F.2d 180, 187 (9th Cir. 1980) (same); Erickson
 23   v. Biogen, Inc., 2020 WL 885743, at *3 (W.D. Wash. Feb. 24, 2020) (precluding
 24   testimony from witness not disclosed in pretrial order).
 25         In contrast to Plaintiffs’ contemplated rebuttal evidence, each case cited by
 26   Defendants excluded purported rebuttal evidence on which Plaintiffs bore the burden
 27   of proof in their case-in-chief. The proposed rebuttal evidence in Nexium—
 28   establishing the date on which the defendants would have agreed to a generic
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  1   launch—“was an essential part of the Plaintiffs’ prima facie case.” In re Nexium
  2   (Esomeprazole) Antitrust Litig., 842 F.3d 34, 55 (1st Cir. 2016); see also G. W. I. S.
  3   by & through Stewart by & through Peck v. Integris Blackwell Reg'l Hosp., 2009 WL
  4   10672482, at *1 (W.D. Okla. Oct. 22, 2009) (denying rebuttal issues of causation on
  5   which Plaintiffs bore the burden of proof in their case-in-chief).
  6         In the other cases cited by Defendants, the Court permitted expert rebuttal
  7   testimony that responded directly to opinions offered by opposing experts. See
  8   Stallworth v. Nike Retail Servs., Inc., 2021 WL 6618781, at *2 (C.D. Cal. Dec. 1,
  9   2021) (permitting rebuttal evidence “that contradict[ed Plaintiffs’ expert’s]
 10   interpretation of the event and its effects on Plaintiffs.”); Cook v. Cnty. of Los
 11   Angeles, 2022 WL 1470574, at *5 (C.D. Cal. Mar. 21, 2022) (permitted rebuttal
 12   opinion from the plaintiff’s expert that was in direct response to opinions offered by
 13   the defendant’s expert).
 14         Professor Elhauge will testify that Dr. Bernheim’s opinions are economically
 15   unsound. He will explain why Professor Bernheim is wrong in claiming that the
 16   mandatory pooling of telecast rights that allegedly “has enabled the NFL to create
 17   high value for fans” is procompetitive. He will also explain why Professor Bernheim
 18   is incorrect that characterizing the challenged restraints as vertical makes them
 19   procompetitive. And Professor Elhauge will testify that Dr. Bernheim has failed to
 20   support his proffered justifications for the challenged restraints with concrete
 21   evidence demonstrating that they actually promote competition.
 22         For the foregoing reasons, Defendants’ motion should be denied.
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  1   Dated: June 19, 2024              Respectfully submitted,
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